1. A creditor may in one action in the superior court proceed against his debtor for judgment on his demand and to set aside a fraudulent conveyance, joining debtor and grantee. DeLacy
v. Hurst, 83 Ga. 223 (4) (9 S.E. 1052); Vaughn v.  Georgia Loan Co., 98 Ga. 288 (25 S.E. 441); Booth v.  Mohr, 122 Ga. 333 (1) (50 S.E. 173); Fourth National Bank v. Mooty, 143 Ga. 137 (84 S.E. 546); May Realty Co. v. Forsdick, 180 Ga. 226, 229 (178 S.E. 660).
2. "A voluntary deed is void as to creditors, though the grantor be not insolvent at the time of making the deed, if his purpose in so doing is to hinder, delay, or defraud creditors; and this would be true whether *Page 451 
the donee knew of the fraudulent intention or not." May v.  Leverett, 167 Ga. 205 (1) (144 S.E. 778). See also  Citizens  Southern Nat. Bank v. Kontz, 185 Ga. 131 (5) (194 S.E. 536).
3. The allegations of the petition — to the effect that the named defendant, while in the employ of the petitioner, abstracted and stole from it funds, which he used in purchasing described realty and thereafter conveying, without any legal consideration therefor, various parcels to named defendants, also giving to one of the donees several automobiles, as well as $15,000 in cash, representing money stolen from the petitioner, the petition praying for judgment against the principal defendant for the amount due because of the alleged fraudulent and illegal acts, that the properties bought with the stolen funds be subjected to the judgment, and that the deeds to the various defendants be set aside, a receiver be appointed, and for injunction and other relief — stated a cause of action against all of the defendants, and the court did not err in overruling the general demurrer filed by one of them.
4. "An equitable petition is not multifarious because all of the defendants are not interested in all of the matters contained in the suit. It is sufficient if each party has an interest in some matter in the suit which is common to all, and that they are connected with the others. All persons who are directly or consequentially interested in the event of the suit are properly made parties to a petition in equity, so as to prevent a multiplicity of suits by or against parties at once or successively affected by the original case." Cowan v.  Nicholson, 158 Ga. 425 (1) (123 S.E. 681). See also Code, § 37-1007; Knox v. Reese, 149 Ga. 379 (100 S.E. 371);  First National Bank of Sparta v. Wiley, 150 Ga. 759 (2) (105 S.E. 308); Hines v. Wilson, 164 Ga. 888 (4) (139 S.E. 802).
5. Since the petition asserts as to all defendants that the property conveyed or given to them respectively was without any legal consideration and purchased with funds stolen by the defendant grantor from the petitioner, the issue as to that question is common to all of the defendants, and under the above stated authorities the petition is not subject to the grounds of special demurrer as to misjoinder of parties and causes of action and multifariousness.
Judgment affirmed. All the Justices concur, except Bell, J., absent on account of illness.
                      No. 16379. OCTOBER 13, 1948.
Atlanta Woolen Mills Corporation filed in the Superior Court of Fulton County, Georgia, an equitable petition against Cecil G. White, Cecil G. White Jr., Mrs. May B. White, Benjamin Daniel White, and Willard Inez Hyde, which as amended alleged in substance as follows: Cecil G. White, during the years 1946 and 1947, was one of its trusted employees, occupying the position of comptroller in the accounting department. By virtue of his employment he was entrusted, among other duties, with the *Page 452 
duty of handling and supervising the bank accounts of the petitioner in the operation of its mill and the handling, supervising, and looking after a special pay-roll bank account with the Citizens  Southern National Bank of Atlanta, which account was used for the purpose of paying the wages and salaries of the petitioner's employees. During the time he was so employed with the petitioner the said Cecil G. White fraudulently and feloniously and in gross breach of his position of trust and confidence, abstracted, embezzled, and stole from the petitioner large sums of money aggregating at least $95,000, and perhaps more. When he learned that his fraudulent practices were being discovered, he began attempting to dispose of and conceal property and assets standing in his name. He executed several deeds to his two sons, Cecil G. White Jr. and Benjamin Daniel White, and his wife, Mrs. May B. White, conveying to them respectively several parcels of described land which were, at least in part, purchased or paid for by the said Cecil G. White with funds which he had abstracted and stolen from the petitioner in the manner described in the petition. He also executed a deed to the defendant, Miss Willard Inez Hyde, conveying to her a described house and lot. This deed was without any legal consideration, and the property was purchased by the said Cecil G. White with money which he had stolen from the petitioner as aforesaid. He also voluntarily gave to the said Miss Hyde several automobiles, which were bought with money stolen from the petitioner, as well as $15,000 in cash which was so stolen.
The petitioner prayed for a judgment against the defendant, Cecil G. White, for the amount due on account of the fraudulent and illegal acts described in the petition; that the various properties bought with the money stolen from the petitioner be subjected to the judgment to be rendered; that the deeds to the various defendants be set aside; that a receiver be appointed; and for injunctive and other relief.
The defendant, Willard Inez Hyde, filed general and special demurrers on the respective grounds that no cause of action was set out against her, and that in the petition there were misjoinders of parties and causes of action and multifariousness. The exception is to the judgment overruling the demurrers. *Page 453 